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 ARAPAHOE COUNTY DISTRICT COURT, COLORADO
 Address: 7325 S. Potomac Street
          Centennial, CO 80112
                                                      DATE FILED: December 14, 2020 12:52 PM
                                                      FILING ID: EDC40ED2D0761
                                                      CASE NUMBER: 2020CV32421
 Plaintiff:        EFRAIN ALFONZO,

 v.

 Defendant:        SPENCER GIFTS, LLC.
                                                                       COURT USE ONLY
 Attorneys for:
 Name(s):             Cristin F. Bordelon, Esq. #52238
                      David E. McDivitt, Esq. #38286
 Firm:                McDivitt Law Firm, PC                     Case Number:
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                                      CIVIL COMPLAINT


       COMES NOW the Plaintiff, Efrain Alfonzo (hereinafter Plaintiff), by and through his
attorney, MCDIVITT LAW FIRM, P.C. for his Complaint against the Defendant and hereby states as
follows:

                         PARTIES, JURISDICTION, AND VENUE

      1.     The Plaintiff is a resident of Florida, with an address of 74447 Roosevelt St.,
Hollywood, FL 33024.

       2.     Upon information and belief, Plaintiff alleges that Spencer Gifts, LLC d/b/a
Spencer’s (hereinafter referred to as “Spencer’s”) is a foreign corporation licensed to do business
in Colorado with a principal place of business of 26826 Black Horse Pike, Ste. 108, Egg Harbor
Township, NJ 08234.

        3.     Defendant Spencer’s registered agent is CT Corporation System, 7700 E. Arapahoe
Rd., Ste. 200, Centennial, CO 80112.

        4.     All the incidents giving rise to Plaintiff’s claim, known or unknown, occurred
within the City of Aurora, County of Arapahoe, State of Colorado.




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        5.     Upon information and belief, Plaintiff alleges that all actions or omissions of
Defendant which gives rise to this claim occurred in the city of Aurora, county of Arapahoe, State
of Colorado. As such, pursuant to Colorado Rules of Civil Procedure (C.R.C.P.) 98(c)(5), venue
is proper in Arapahoe County.

                                 FACTUAL ALLEGATIONS

       6.     On July 22, 2019 at approximately 9:45 a.m., Plaintiff Efrain Alfonzo arrived on
the premises of Spencer’s, located at Town Center at Aurora, Room 2015, 14002 E. Alameda
Ave., Space 2005, Aurora, CO 80012 (hereinafter “the premises”).

       7.      Plaintiff entered said premises with the purpose of purchasing a keychain.

       8.     Plaintiff entered said premises and proceeded to the counter where the keychains
were located.

       9.      Plaintiff chose the keychain he was planning to purchase.

        10.    In the next instant, a box containing three glass lava lamp fell from the rafters
directly above plaintiff.

       11.     The box of lava lamps fell on Plaintiff’s head, rendering him unconscious.

        12.    Defendant knew, or should have known, that employees stored inventory in the
rafters above where customers were shopping.

      13.     Defendant knew, or should have known, that storing inventory in the rafters above
customers was dangerous.

        14.     Defendant knew, or should have known, inventory could potentially fall from the
rafters onto customers and/or employees.

       15.   Despite this knowledge, Defendant continued to store inventory in the rafters above
where customers walked and shopped.

       16.     Upon information and belief, Defendant therefore had actual knowledge of the
danger created by storing inventory in the rafters.

        17.    Upon information and belief, Defendant Spencer’s, individually and/or by and
through its agents and/or employees, owned and/or professionally managed the premises at all
times relevant herein.

        18.   At all pertinent times, the subject premises was under the care, custody, and control
of the Defendant.




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        19.     At all times alleged herein Defendant owed a duty to invitees to use reasonable care
to protect against known dangers on the property.


                                     FIRST CLAIM FOR RELIEF
                                      PREMISES LIABILITY

        20.      Plaintiff hereby adopts and incorporates by reference the above paragraphs as if
fully set forth herein.

       21.    At the time of the incident, Defendant Spencer’s was a “landowner” of the subject
premises within the meaning of the Colorado Premises Liability Act, C.R.S. 13-21-115.

       22.    At all pertinent times, Plaintiff was an invitee within the meaning of the Colorado
Premises Liability Act, C.R.S. §13-21-115.
       23.     As landowner of the subject premises wherein the alleged incident complained of
occurred, Defendant owed a duty to Plaintiff to provide him with safe premises without dangerous
conditions and to properly warn and protect him from any dangers of which Defendant knew,
pursuant to C.R.S. § 13-21-115.

       24.   The inventory stocked in the rafters above the customers at the premises was a
dangerous condition.

        25.    Defendant breached its duty to Plaintiff because it created a dangerous condition
by maintaining the premises, by and through its agents and/or employees, in such a fashion as to
stock inventory in the rafters above customers, without reasonable efforts to protect against and
prevent said danger.

       26.     Defendant failed to maintain the subject premises in a safe manner.

       27.   Defendant failed to properly warn and use reasonable care to protect against a
dangerous condition of which it knew or should have known.

       28.     Defendant is legally responsible for the condition of the premises.

       29.     As a direct result of Defendant’s breach of duties herein, Plaintiff was injured.

        30.     As a further result of Defendant’s breach of its duties, Plaintiff has suffered in the
past and may suffer in the future, economic and non-economic injuries and losses including, but
not limited to, medical and other health-care expenses, loss of earnings and earnings capacity, pain
and suffering, loss of the enjoyment of life, emotional stress and distress, loss of capacity to
perform household work, inconvenience, impairment and disability.




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                                  SECOND CLAIM FOR RELIEF
                                       NEGLIGENCE

        31.      Plaintiff hereby adopts and incorporates by reference the above paragraphs as if
fully set forth herein.

       32.     Upon information and belief, Defendant was responsible for maintaining the
premises in a safe manner.

       33.    Defendant therefore owed a duty to Plaintiff to provide a safe premise without
dangerous conditions and to properly warn and protect him from any dangers of which Defendant
knew or should have known.

       34.   The inventory stocked in the rafters above the customers at the premises was a
dangerous condition.

        35.    Defendant breached its duty to Plaintiff because it created a dangerous condition
by maintaining the premises, by and through its agents and/or employees, in such a fashion as to
stock inventory in the rafters above customers, without reasonable efforts to protect against and
prevent said danger.

       36.   Defendant failed to properly warn and use reasonable care to protect against a
dangerous condition of which they knew or should have known.

       37.     As a direct result of Defendant’s breach of duties herein, Plaintiff was injured.

        38.     As a further result of Defendant’s breach of its duties, Plaintiff has suffered in the
past and may suffer in the future, economic and non-economic injuries and losses including, but
not limited to, medical and other health-care expenses, loss of earnings and earnings capacity, pain
and suffering, loss of the enjoyment of life, emotional stress and distress, loss of capacity to
perform household work, inconvenience, impairment and disability.
        WHEREFORE, Plaintiff requests that judgment be entered against Defendant for all
reasonable compensatory damages allowed by law, both economic and non-economic, costs,
expert witness fees, all interest allowable by law calculated at a compound rate, prejudgment
interest, and such further relief as the Court finds appropriate.

       Respectfully submitted, this 14th day of December 2020.

                                         McDivitt Law Firm, PC


                                         Cristin F. Bordelon, Esq., #52238
                                         David E. McDivitt, Esq. #38286
                                         Attorneys for the PLAINTIFF




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